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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF PUERTO RICO


 UNITED STATES OF AMERICA
      Plaintiff

        v.                                                    Criminal No. 07-488 (ADC)

 [1] JESUS IGLESIAS-VIERA,
 [2] ALEX FIGUEROA-CARRERAS,
 [3] JOSE M. ENCARNACION-MARQUEZ,
 [4] RAUL ROSADO-TORO,
        Defendants.



                ORDER ADOPTING REPORT AND RECOMMENDATION

       Before the Court is an unopposed Report and Recommendation issued by Magistrate-

Judge Marcos E. López on January 15, 2009. (Docket No. 1121). In said Report and

Recommendation the Magistrate-Judge recommends that: defendants Jesús Iglesias-Viera,

Alex Figueroa-Carreras, José M. Encarnación-Márquez and Raúl Rosado-Toro be adjudged

guilty of the offenses charged in Counts One and Seven (T. 21, U.S.C. §§ 846, 841(a)(1),

(b)(1)(C), (b)(2) and 860; T. 18, U.S.C. §§ 924(c)(1)(A)(i) and 2)) inasmuch as, their plea of guilty

was intelligently, knowingly and voluntarily entered.

       Neither parties has filed objections to the Magistrate-Judge’s Report and

Recommendation within the time frame provided by the Federal Rules of Criminal Procedure

and this Court’s Local Rules. See Fed. R. Crim. P. 11; 28 U.S.C. § 636(b)(1)(B); D.P.R. Local

Crim. R. 147(b).
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       After reviewing the record, the Court agrees with the arguments, factual and legal

conclusions within the Report and Recommendation. Therefore, the Court hereby APPROVES

and ADOPTS the Magistrate-Judge’s Report and Recommendation in its entirety.

       Accordingly, a judgment of conviction is to be entered for each defendant as to Counts

One and Seven of the indictment in the above-captioned case.

       The sentencing hearings are set for March 30, 2009 from 4:45 p.m. to 5:30 p.m.

       IT IS SO ORDERED.

       At San Juan, Puerto Rico, this 2nd day of February, 2009.



                                                S/AIDA M. DELGADO-COLON
                                                United States District Judge
